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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES,

       Plaintiff,
                                                       Case No.      11-20129
v.

SALVATORE BATTALGLIA (D-33),

       Defendant.
                                           /

     OPINION AND ORDER DENYING DEFENDANT’S MOTION TO DISMISS FOR
                  VIOLATION OF THE SIXTH AMENDMENT

       Defendant Salvatore Battalgia accused of conspiracy to manufacture, distribute,

and possess with intent to distribute controlled substances. If convicted, Defendant

faces a minimum sentence of 10 years in prison. A magistrate judge ordered him

detained pending trial on July 16, 2012, and he has remained in custody since that time.

Given the complexity of this case, which is brought against 41 defendants, trial has

been delayed to allow adequate time for, among other things, all of the defendants to

review the electronic discovery, litigation of multiple motions, and resolution of

interlocutory appeals. Defendant moves to dismiss the charges against him due to the

length of delay in being brought to trial. The Government opposes the motion, and

Defendant has been deemed to have waived a hearing on his motion. (See 10/01/13

Text Entry Order.) The court finds no violation of the Sixth Amendment.

       When assessing whether the delay between indictment and trial has violated the

defendant’s constitutional rights, the Supreme Court has identified four factors to

consider: “[l]ength of delay, the reason for the delay, the defendant's assertion of his
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right, and prejudice to the defendant.” Barker v. Wingo, 407 U.S. 514, 530 (1972). No

one factor is determinative, but instead, “they are related factors and must be

considered together with such other circumstances as may be relevant.” Id. at 533; see

also United States v. Schreane, 331 F.3d 548, 553 (6th Cir. 2003). Defendant argues

that the charges against him are straightforward and simple, and that the lengthy delay

in being brought to trial has violated his right to a “speedy and public trial,” as

guaranteed by the Sixth Amendment of the United States Constitution. The

Government counters that this court has closely monitored the progression of this case,

that discovery is complex and review of the materials by all Defendants is ongoing, that

motion practice and interlocutory appeals have slowed the progression of this case, and

that--contrary to Defendant’s assertion–the case against Defendant, who is alleged to

be part of a complex conspiracy, are hardly simple. The court agrees with the

Government.

        Balancing the Barker factors, the court first finds that the nearly eighteen-month

delay since the Third Superseding Indictment is presumptively prejudicial. Though the

court does not find this delay uncommonly long given the complexity and issues of this

case, the Sixth Circuit has held that delays exceeding one year are sufficient to trigger

the remaining Barker factors. Schreane, 331 F.3d at 553. The second factor weighs in

favor of the Government where, as here, the reasons for the delay are valid. See

Takacs v. Engle, 768 F.2d 122 (6th Cir. 1985). The delays in this case are not

attributable to any bad faith or negligence by the Government, but rather are the result

of the legitimate electronic discovery issues, significant motion practice, numerous

defendants, and complexity of this conspiracy matter. The Government has, indeed,

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attempted to streamline this case--through coordination with the court and defense

counsel–by proposing certain methods to speed discovery and by working cooperatively

with defense counsel. The court has appointed, at public expense, a discovery

coordinator, has designated Liaison Counsel to minimize the confusion and backlog

which naturally occurs with so many attorneys involved in a case, and has set regular

status conference to address any issues counsel may be encountering and to attempt to

keep this moving as rapidly as possible. At no stage in his process has the court seen

any hint that the Government was stalling or in any way impeding the progress of this

case. The second factor, then, weighs in favor of the Government.

        The third Barker factor looks to Defendant’s responsibility to assert his right to a

speedy trial. If a defendant has not timely done so, this factor weighs against the

finding of a constitutional violation. Schreane, 331 F.3d at 557. Here, Defendant has,

at one point, agreed to a two-month delay, has filed multiple motions and an

interlocutory appeal, has failed to timely retrieve his discovery materials (see Gov’t’s

Mot. Ex.), and has otherwise failed to timely and formally object to the length of the

delay in this case. This factor, too, weighs against a Sixth Amendment violation

       Finally, the fourth factor, prejudice to the defendant, also weighs in favor of the

Government. With respect to this factor, the Supreme Court has held that “[p]rejudice,

of course, should be assessed in the light of the interests of defendants which the

speedy trial right was designed to protect.” Barker, 407 U.S. at 532. Such interests

include “(i) to prevent oppressive pretrial incarceration; (ii) to minimize anxiety and

concern of the accused; and (iii) to limit the possibility that the defense will be impaired.”

Id. And, “[o]f these, the most serious is the last, because the inability of a defendant

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adequately to prepare his case skews the fairness of the entire system.” Id. Defendant

does not articulate any specific way in which his defense his been impaired. In the

Sixth Circuit, “[w]hen the government prosecutes a case with reasonable diligence, a

defendant who cannot demonstrate how his defense was prejudiced with specificity will

not make out a speedy trial claim no matter how great the ensuing delay.” United States

v. Young, 657 F.3d 408, 418 (6th Cir. 2011) (quoting United States v. Howard, 218 F.3d

556, 564 (6th Cir.2000)). Particularly where, as here, the court has closely monitored

the progression of this case, there is near-universal agreement among the defendants

that delay is warranted in order to appropriately consider the voluminous electronic

discovery, and there is no evidence that the Government has unreasonably prolonged

matters, Defendant’s failure to articulate any specified prejudice weighs this final factor,

and the entirety of the Barker test, against the finding of a constitutional violation.

Accordingly,

          IT IS ORDERED that the motion to dismiss for speedy trial violations [Dkt. # 665]

is DENIED.

                                                              s/Robert H. Cleland
                                                             ROBERT H. CLELAND
                                                             UNITED STATES DISTRICT JUDGE
Dated: December 27, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 27, 2013, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner
                                                             Case Manager and Deputy Clerk
                                                             (313) 234-5522




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